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                                  RULE 26 (2)(B) DISCLOSURE
                                         Richard S. Strimling


Qualification of Expert: See attached Exhibit A.
Publications authored within 10 years: None
Testimony or depositions within four years: None
Compensation to be paid:        Trial preparation       $350.00
                                Deposition              $500.00
                                Trial Testimony         $500.00


        I have been involved in the leasing of retail space representing both tenants and landlords
for many years. This has included properties in metropolitan areas as well as in secondary and
tertiary markets such as New Ulm. I was also hired by Retail Investment II, LLC to try to market
the Marktplatz Mall. These efforts included mass mailings to potential retailers and other
promotional activities including canvassing, networking, and participation in trade shows with
national and regional tenants. Tenants attracted to the Mall since its opening, including Jensen
Clothiers and On Que, have closed their doors because of the inability to attract a sufficient
volume of regular customers. I have also reviewed the Plaintiff's proposal for conversion of a
portion of the Marktplatz Mall to condominium housing.
        Over the years I have witnessed the evolution of retailing in smaller communities over
the past 30 years as large regional and national chains pull out of these markets as unprofitable.
In addition, independent retailers have shut their doors in response to customers' flight to larger
critical mass retail markets where a variety of "big box" retails is available in a concentrated
area. Small, downtown malls in smaller Midwest communities have generally seen a drastic
decrease in occupancy and success and have lost the ability to attract viable retail tenants.
Generally the smaller tenants in such malls have subsisted off the traffic created by the major
anchors in the malls and they have not been successful in smaller towns. The owners of these
types of facilities have had to search for alternative uses for mall spaces in an effort to fill space
as the nature of retailing has evolved because there is no longer a loyal base of retail customers.
The pending establishment of a Wal-Mart Supercenter on the edge of New Ulm will only further
limit the ability of the central business district and the Marktplatz Mall to attract retail tenants.
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